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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:13CR107
                                              )
       vs.                                    )                   ORDER
                                              )
VINCENT DiBERARDINO,                          )
                                              )
                     Defendant.               )


       This matter is before the court on the motion of defendant Vincent DiBerardino
(DiBerardino) to modify conditions of pretrial release (Filing No. 249). The motion is granted
and DiBerardino has permission to move to his residence in Westerly, Rhode Island.
DiBerardino shall consult with Pretrial Services and execute a consent to modify the
conditions of his release.


       IT IS SO ORDERED.


       DATED this 23rd day of July, 2014.


                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
